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                    EXHIBIT B
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       Create and lead the calibration program’s technical aspects
       Write Work Instruction of calibration procedures, even more specific than the
       manufacturer’s procedures.
       Calibrate customers’ loadcells, transducers, dynamometers and measuring devices.
       Support other calibration technicians.
       Help Maintain calibration equipment.
       Help source equipment and supplies for calibration equipment.
       Other duties when at the shop to help the shop’s operations.

       Shandi Crappell:
       Calibration Technician
       Calibrate customers’ loadcells, transducers, dynamometers and measuring devices.
       Help Maintain calibration equipment.
       Other duties when at the shop to help the shop’s operations.

INTERROGATORY NO. 3: Describe the terms of the employment relationship between
Defendant and Plaintiff and Class Plaintiffs that were/are governed by a written document,
and any oral terms that modified any written aspect of such employment relationships.

       ANSWER:
       Plaintiffs were Defendant Muncy’s employees. There was no employment contract, but
Ric had an offer letter. Ric received numerous raises during his employment at Muncy.

INTERROGATORY NO. 4: Identify all documents authored by Defendant, including but
not limited to contracts, agreements, rules, guidelines, manuals, handbooks, memoranda, or
any other documents, that governed Plaintiffs job duties and responsibilities for Defendant,
including, but not limited to, wages and hours worked and/or any other aspect of Plaintiffs'
employment with Defendant. Describe in detail the manner in which each such document
was transmitted to Plaintiffs, and state the manner, if any, in which Plaintiff acknowledged
receipt of such documents.

       ANSWER:
       Plaintiffs signed on their first day of employment, Company Handbook, Confidentiality
and Noncompete Agreement. When hired, we had no calibration technicians. Ric helped make
work instructions and job descriptions.

 INTERROGATORY NO. 5: State with particularity the number of hours Plaintiff worked
in each calendar week during the last three years, identifying the procedure used for
monitoring and recording said hours, and identifying all personnel involved in these
procedures and their specific responsibilities.

       ANSWER:
       See times clocked in as already submitted, as they speak for themselves. Shandi worked
a 40 hour week when she wasn’t traveling. Shandi only worked for Muncy for a few months,
during which she did not travel much, perhaps 2 trips. During those trips, we work in customers’

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facilities, which are typically only open during regular business hours. Shandi travelled once
with me, Ric and other calibration tech, where she may have driven a few hours. Most of the
driving was done by other techs. The other trip with Ric I recall Ric did most of the driving and
only after he was hired by Chant Engineering in clear violation of his non-compete agreement.
Shandi’s time she clocked in when she was at the shop was consistent with a 40 hour work
week. Shandi was a salary position as she agreed and as indicated in her pay. She never had
issue with her agreed status.

       Ric Szabo was a salary employee. See times clocked in as already submitted, as they
speak for themselves. During trips, no record was taken of his time, as he was a salaried
employee as he had agreed in his offer letter and as he was paid for the 2 or so years he was
employed. He never had issue with this employment relationship until after his employment.

INTERROGATORY NO. 6: Describe any oral or written communication/complaints,
investigations or inquiries concerning allegations that you failed to properly compensate any
current and/or former employee, including, but not limited to lawsuits, investigations or
inquiries initiated by any employee or any governmental entity. Identify all documents
concerning such complaints, investigations, or inquiries.

       ANSWER:
       None.

INTERROGATORY NO. 7: Identify the person(s) employed by Defendant (including any
owner(s) or representative agent(s) thereof by name, job title, dates of employment, and
current job status, to whom Plaintiffs were required to report during the course of their
employment with Defendant, including any such person(s) who exercised any degree of
control or oversight over any aspect of Plaintiffs' job performance, including, but not limited
to, his duties while working for Defendant. For each such person, describe in detail his/her
duties and responsibilities with respect to Plaintiffs.

       ANSWER:
       Jason Fetter
       Vice President
       Employed November 2014 to present

       Kimberly Bunting
       Inside Sales Manager
       Employed 4/15/2017 to 5/14/2020

       Megan Delahoussaye
       Plant Manager/Calibration Sales
       Employed January 20, 2020 to present

       Ric Szabo for Shandi
       Lead Calibration Technician


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       Employed 1/8/2018 to 7/10/2020

INTERROGATORY NO. 8: Describe the terms of the employment relationship between
Defendant and Plaintiff that were governed by a written document, and any oral terms that
modified any written aspect of such employment relationship.

       ANSWER:
       Asked and answered.

       Company Handbook, Confidentiality and Noncompete Agreement.

     The relationship was employment at will. Ric received a few raises that were orally
communicated and reflected in his paychecks.

       Plaintiff Ric Szabo failed to comply with the terms of the company’s rules as outlined in
its Handbook by failing a random drug test and testing positive for cocaine use. Please see the
attached results of the Controlled Substance Test at MUNCY-000042-000045 and Defendant’s
Employee Warning Report at MUNCY-000131.

INTERROGATORY NO. 9: Describe in detail the factual basis for Defendant’s
contentions in its Answer that Plaintiffs were “exempt” employee within the meaning of the
FLSA and the PMWA, including but limited to the professional, executive, administrative,
learned professional exemption, and corresponding state laws.

        ANSWER:
        Both Plaintiffs were hired as salary employees due to the travel, and for Ric, his creation
of the calibration team and his leadership and previous professional training he had to create and
lead the calibration team on technical issues. Never having calibrated any item before Ric, Ric
set up the entire program, helped procure the equipment, write the procedures, get ISO certified,
write the job descriptions, train new calibration technicians, trouble shoot and support other
calibration technicians. Ric truly was the impetus for creating the program and without his
education, expertise, experience, and push, we would not have a calibration department.

INTERROGATORY NO. 10: State the names of all witness you intend to call at the trial of
this matter and provide a summary of their anticipated testimony.

       ANSWER:
       This answer will be provided in accordance with the Rules of Civil Procedure.

INTERROGATORY NO. 11: Identify all persons answering or providing any information
used to answer any Interrogatory herein. Describe the source of such person's knowledge
and specify which Interrogatories such person answered or assisted in answering.




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        ANSWER:
        Jason Fetter, from personal experience and recollection, having hired and worked with
Ric.

       Kelli Gordon, accounting at Muncy, as she has provided the wage reports and contents of
the employee file.

INTERROGATORY NO. 12: Identify all persons by name, job title, dates of employment,
and current job status, whose job responsibilities from January 2018 to the present included
determining Defendant's compliance with applicable wage and hour laws with respect to
Defendant's compensation of Plaintiffs, including, but not limited to, compliance with the
FLSA and state law. Identify all documents authored by or on behalf of such persons
regarding such compliance. Please also identify any and all documents which Defendant
relied upon in concluding that Defendant's wage and hour practices with respect to Plaintiffs
were compliant with the FLSA and state law.

        ANSWER:
        Jason Fetter, Vice President
        Sheryl Luse, Accounts Receivable (Handled Ric’s payroll)
        Kelli Gordon, Accounts Receivable (Handled Shandi and Ric’s payroll)

INTERROGATORY NO. 13: Describe in detail all the location and times Plaintiffs were
required to travel for a job and the hours they worked.

       ANSWER:
       The times they drove versus flew versus rode outside of 9-5 was not recorded as they
were salaried employees. Will provide additional information upon receipt of same.

INTERROGATORY NO. 14: Describe, in detail, what specific duties, if any, Plaintiff or
Class Plaintiffs performed which you contend qualify as:

     a) The performance of office or non-manual work directly related to the
management or general business operations of Defendant or Defendant’s customers;
        b) The exercise of discretion and independent judgment with respect to matters of
significance; and
       c) The performance of work which is predominately intellectual in character and/or
work requiring the consistent exercise of discretion and judgment.

       Identify and describe in your answer any records and documents upon which you rely
in responding to this interrogatory.

        ANSWER:
        Asked and answered.




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        a) Ric set up the entire program, helped procure the equipment, write the procedures, get
ISO certified, write the job descriptions, train new calibration technicians, trouble shoot and
support other calibration technicians. Ric truly was the impetus for creating the program and
without his expertise, experience and push, we would not have a calibration department. Ric also
set up our lab in Lafayette. Ric also consulted with Muncy in building testbeds. He had much
practical experience in running and setting them up. Ric sent voluminous emails furthering these
ends and participated in many meetings with other staff to set up and grow the calibration
department.
        b) Ric wrote many procedures and bought many pieces of equipment, all which had
some regular approval process, but stayed his creation, as we did not have his expertise and he
was driving the conversation.

        c) Ric started a department from scratch. When we started, we did not have any
calibration equipment or business. With his leadership, professional training, planning and
execution, he created the calibration department.

       Shandi did not have this expertise.

INTERROGATORY NO. 15: Describe, in detail, what advanced knowledge, if any, you
contend Plaintiff and Class Plaintiffs were required to have in order to perform their job
duties for Defendant. Identify and describe in your answer the following information:

      a) The field(s) of science or learning related to the advanced knowledge, if any, you
contend Plaintiff was required to have in order to perform her job duties for Defendant; and

       b) Specific prolonged courses of specialized intellectual instruction required to
obtain the advanced knowledge, if any, you contend Plaintiff was required to have in order
to perform her job duties for Defendant.

Identify and describe in your answer any records and documents upon which you rely in
responding to this interrogatory.

       ANSWER:
       a) Ric’s made his own position, as we did not calibrate prior to Ric coming to the
company. Ric was required to have the mechanical and electronic background to create a highly
technical calibration department at Muncy. Creating a department requires more expertise and
knowledge than joining one. Ric had great experience in hydraulics and electronics, which is
what makes up the equipment we service and calibrate. Ric also had to be able to operate the
hydraulic testing equipment at customers.

        b) Ric was not required to have any prolonged course work. However, he had to be able
to use a computer to write the procedures, set up the department and procure equipment per our
procedures. Ric also had to be able to operate and linearize on a multitude of computer
indicators, which he had great previous experience.

       Shandi was not hired to set up a department but was being trained to become a competent


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calibration technician. She had great experience in electronics and soldering and came highly
recommended.

                                                         STAPP LAW, LLC

Dated: March 11, 2022                                    By: /s/ Gregory A. Stapp
                                                            Gregory A. Stapp, Esquire
                                                            Atty. I.D. #78247
                                                            Attorney for Plaintiff
                                                            153 West Fourth Street, Suite 6
                                                            Williamsport, PA 17701
                                                            Tel. (570) 326-1077
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                                                            Counsel for Defendant




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                               CERTIFICATE OF SERVICE

       I, Gregory A. Stapp, Esquire, counsel for Defendant, hereby certify that on this 11th day

of March, 2022, a true and correct copy of the foregoing Defendant’s Answers to Plaintiffs’

Interrogatories has been served upon Michael Murphy, Esquire, counsel for Plaintiffs via email

to the following:

       Michael Murphy, Esquire
       Murphy Law Group, LLC
       Eight Penn Center, Suite 2000
       1628 John F. Kennedy Blvd.
       Philadelphia, PA 19103
       Email: murphy@phillyemploymentlawyer.com
       Counsel for Plaintiffs


                                                          /s/ Gregory A. Stapp
                                                          Gregory A. Stapp, Esquire
                                                          Counsel for Defendant




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